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                                                  UNITED STATES DISTRICT COURT
                                              NORTHERN DISTRICT OF OKLAHOMA

         United States of America,
                                                       Plaintiff,        Case Number: 09-CR-043-SPF
                                                                         Dates: April 21-23, 2010
         vs.                                                             Court Time: 4-21-10 - 10:00 a.m.-5:05 p.m.
                                                                                      4-22-10 - 9:00 a.m.-4:55 p.m.
         Lindsey Kent Springer and Oscar Amos Stilley,                                4-23-10 - 9:00 a.m.-11:55 a.m.
                                               Defendants.               Actual Court Time: 16 hrs. 10 min.

                                                  MINUTE SHEET - SENTENCING
          Stephen P. Friot, U.S. District Judge             Lori Gray, Deputy Clerk               Tracy Washbourne,
                                                                                                  Reporter
Counsel for Plaintiff:                                Charles O’Reilly, Ken Snoke
Standby Counsel for Pro Se Defendant Springer:        Robert Williams, Appt.
Standby Counsel for Pro Se Defendant Stilley:         Robert Burton, Appt.
Probation Officer:                                    Todd Gollihare

[x] Defendants appear in person with standby counsel
[x] Plaintiff & Defendants reviewed PSI:          [x] Objs by: [x] Pltf [x] Defts
                                                  [x] Court overrules objections in part; sustains objections in part
[x] Plf’s Exs. 1001-1156, 1159-1177, 1178A, 1179A admitted, and ordered withdrawn at conclusion of proceeding.
[x] Dft Springer’s Exs. 19, 22 admitted, and ordered withdrawn at conclusion of proceeding.
[x] 18:3553 Findings re: PSI/Sentence made.
[x] Sentence re: Guideline as to dft Lindsey Kent Springer; [x] Within guideline range; [x] Findings made
[x] Sentence re: Guideline as to dft Oscar Amos Stilley; [x] Variance [x] Upward;          [x] Findings made
[x] Defendants and government counsel make statements prior to sentence being pronounced.
[x] Defendant Springer presents a Motion for Stay of Execution of Sentence and Release Pending Appeal. Dft Stilley joins in the motion.
    The Court denies the motion.

WITNESSES FOR PLAINTIFF:                                                 WITNESS FOR DEFENDANTS:

1.   IRS Special Agent Brian Shern (sworn)                               1.   Lindsey Kent Springer (sworn)
2.   IRS Revenue Agent Brian Miller (sworn)                              2.


SENTENCE FOR DFT LINDSEY KENT SPRINGER: As to Count(s)                           1-6       of the Indictment:

[x] Bureau of Prison for a term of 60 months as to each of Counts 1, 2, 3, and 4, and 12 months as to each of Counts 5 and 6. The
    terms imposed as to Counts 4-6 shall run concurrently with each other and with the terms imposed as to Counts 1, 2, and 3. The
    terms imposed as to Counts 1, 2, and 3 shall run consecutively to each other, for a total sentence as to all counts of 180 months.
[x] Supervised Release for a term of 3 years as to each of Counts 1, 2, 3, and 4, and 1 year as to each of Counts 5 and 6, all such terms
    to run concurrently with each other.
[x] No fine is imposed.
[x] Restitution : Federal - $691,343.00 to the IRS     [x] with interest
                  State - $80,186.00 to the Oklahoma Tax Commission [x] with interest
[x] Special Monetary Assessment: $450.00 ($100.00 for each of Counts 1-4, $25.00 for each of Counts 5 and 6) [x] due immediately

STANDARD CONDITIONS as previously adopted by this court including the following additional conditions:

[x] Firearm, Ammunition, Destructive Device or Any Other Dangerous Weapon (shall not possess)
[x] Controlled Substances (shall not illegally possess)  [x] Special Computer Restriction and Monitoring Conditions
[x] DNA Sample (cooperate with and submit to collection) [x] Special Financial Conditions
[] Alcohol Abstinence Condition                          [x] Special Search and Seizure Conditions
[] Immigration/Naturalization Conditions                 [] Special Sex Offender Conditions
[] Workforce Development Condition                       [] Special Substance Abuse and Testing Conditions
[] Mental Health Treatment Conditions                    [] To include inpatient treatment
[] Special Gambling Restriction Conditions               [] To include treatment program for gambling addiction
[] Community Service Conditions:                         For        hours to be performed
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[] Community Confinement Conditions:               For        months in confinement and allowed to maintain employment
[] Curfew Condition:  [] Home Detention Condition: For        months to commence within           hours of sentencing/release
                                                   from imprisonment and to include electronic monitoring at the discretion
                                                   of the Probation Officer.
                                                   Entire cost of the electronic monitoring shall be paid by: [] Prob [] Deft

[x] Shall cooperate with the IRS in preparing and filing true and correct income tax returns for any tax years since 1987 for which the
    defendant has not filed a tax return; cooperate with the IRS in civil proceedings to determine accurately his tax liabilities for the same
    years; establish a payment schedule with the IRS and pay all taxes, interest, and penalties owed in connection with his tax debt
    according to the payment schedule set by the IRS.
[x] Will not engage in any activity that would constitute the unauthorized or unlicensed practice of law, nor provide representation or
    services of any kind, advice, suggestions, or recommendations, whether paid or not, to any person or entity, public or private, other
    than immediate family members, with respect to any matter relating to federal or state taxation. The defendant will maintain no website
    that refers to any matter relating to federal or state taxation. The defendant will post no material of any kind on any website that refers
    to any matter relating to federal or state taxation. The defendant will not file, without the expressed written permission of the Probation
    Office, any civil action relating to federal income tax. Further, the defendant is prohibited from engaging in any activities in or under
    the name of Bondage Breakers Ministry.
[x] Will not work directly or indirectly in any business, profession, or self-employment engaged in the offer, sale, purchase, trade,
    brokering, solicitation, or similar transactions with respect to any real property, securities or negotiable instruments. The defendant
    will not engage in telemarketing activities, to include any telephone sales or other such business, campaign, venture, or transaction.
    The defendant shall maintain employment. All employment must be approved in advance by the Probation Officer. The defendant
    shall abide by electronic monitoring, curfew requirements, and travel restrictions.
[x] If instructed by the Probation Officer, shall provide originals or copies of all personal and business telephone phone records and all
    credit card, checking account and PayPal statements to the U.S. Probation Officer.
[x] Will report to the Probation Officer the particulars, as specified by the Probation Officer, of all transactions consummated with a check
    cashing service. These reports shall be made within 10 calendar days after completion of any such transaction. The defendant shall
    refrain from transacting business with any check cashing service if so directed by the Probation Officer.
[x] Will disclose all email accounts, Pay Pal accounts, internet connections and communication devises, to include all screen names and
    passwords. Your use of email, internet connections, or an internet connection service will be restricted and/or monitored by monitoring
    software and otherwise, with the costs of remote computer monitoring to be paid by the defendant. The defendant will be prohibited
    from accessing any on-line service using an alias or the internet account, name or designation or another person or entity. The
    defendant will be prohibited from altering or using any form of encryption or other methods that limit access to, or change, the
    appearance of data or images. The defendant will be prohibited from altering or destroying records of computer use.

[x] Defendant advised of right to appeal                     [x] Defendant gives oral notice of appeal
[x] Court recommends to BOP that dft be designated to a facility as close as possible to Tulsa, OK, for which dft’s security classification
    makes him eligible, but court strongly recommends that dft not be designated to the same facility to which co-dft Oscar Amos Stilley
    is designated
                                                             [] Residential Drug Abuse Treatment Program
                                                             [] Other:
[] Bond exonerated                                           [] Appeal Bond set: $          ([] Cash or [] Surety); [] Findings made
[] Deft to self surrender to designated institution by noon on:              , U.S.M. to advise of institution;      [] Findings made
[] Remaining counts ordered dismissed:
[x] Defendant remanded to custody of U.S. Marshal

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SENTENCE FOR DFT OSCAR AMOS STILLEY: As to Count(s)                           1, 3, and 4      of the Indictment:

[x] Bureau of Prison for a term of 60 months as to each of Counts 1, 3, and 4, all such terms to run consecutively to each other, for a total
    sentence as to all counts of 180 months.
[x] Supervised Release for a term of 3 years as to each of Counts 1, 3, and 4, all such terms to run concurrently with each other.
[x] No fine is imposed.
[x] Restitution : Federal - $684,653.00 to the IRS [x] with interest
                  State - $91,627.00 to the Arkansas Department of Finance and Administration [x] with interest
[x] Special Monetary Assessment: $300.00 ($100.00 for each of Counts 1, 3 and 4) [x] due immediately
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[x] Controlled Substances (shall not illegally possess)  [x] Special Computer Restriction and Monitoring Conditions
[x] DNA Sample (cooperate with and submit to collection) [x] Special Financial Conditions
[] Alcohol Abstinence Condition                          [x] Special Search and Seizure Conditions
[] Immigration/Naturalization Conditions                 [] Special Sex Offender Conditions
[] Workforce Development Condition                       [] Special Substance Abuse and Testing Conditions
[] Mental Health Treatment Conditions                    [] To include inpatient treatment
[] Special Gambling Restriction Conditions               [] To include treatment program for gambling addiction
[] Community Service Conditions:                         For        hours to be performed
[] Community Confinement Conditions:                     For        months in confinement and allowed to maintain employment
[] Curfew Condition:       [] Home Detention Condition: For         months to commence within           hours of sentencing/release
                                                         from imprisonment and to include electronic monitoring at the discretion
                                                         of the Probation Officer.
                                                         Entire cost of the electronic monitoring shall be paid by: [] Prob [] Deft

[x] Shall cooperate with the IRS in preparing and filing true and correct income tax returns for any tax years since 1987 for which the
    defendant has not filed a tax return; cooperate with the IRS in civil proceedings to determine accurately his tax liabilities for the same
    years; establish a payment schedule with the IRS and pay all taxes, interest, and penalties owed in connection with his tax debt
    according to the payment schedule set by the IRS.
[x] Will not engage in any activity that would constitute the unauthorized or unlicensed practice of law, nor provide representation or
    services of any kind, advice, suggestions, or recommendations, whether paid or not, to any person or entity, public or private, other
    than immediate family members, with respect to any matter relating to federal or state taxation. The defendant will maintain no website
    that refers to any matter relating to federal or state taxation. The defendant will post no material of any kind on any website that refers
    to any matter relating to federal or state taxation. The defendant will not file, without the expressed written permission of the Probation
    Office, any civil action relating to federal income tax.
[x] Will not work directly or indirectly in any business, profession, or self-employment engaged in the offer, sale, purchase, trade,
    brokering, solicitation, or similar transactions with respect to any real property, securities or negotiable instruments. The defendant
    will not engage in telemarketing activities, to include any telephone sales or other such business, campaign, venture, or transaction.
    The defendant shall maintain employment. All employment must be approved in advance by the Probation Officer. The defendant
    shall abide by electronic monitoring, curfew requirements, and travel restrictions.
[x] If instructed by the Probation Officer, shall provide originals or copies of all personal and business telephone phone records and all
    credit card, checking account and PayPal statements to the U.S. Probation Officer.
[x] Will report to the Probation Officer the particulars, as specified by the Probation Officer, of all transactions consummated with a check
    cashing service. These reports shall be made within 10 calendar days after completion of any such transaction. The defendant shall
    refrain from transacting business with any check cashing service if so directed by the Probation Officer.
[x] Will disclose all email accounts, Pay Pal accounts, internet connections and communication devises, to include all screen names and
    passwords. Your use of email, internet connections, or an internet connection service will be restricted and/or monitored by monitoring
    software and otherwise, with the costs of remote computer monitoring to be paid by the defendant. The defendant will be prohibited
    from accessing any on-line service using an alias or the internet account, name or designation or another person or entity. The
    defendant will be prohibited from altering or using any form of encryption or other methods that limit access to, or change, the
    appearance of data or images. The defendant will be prohibited from altering or destroying records of computer use.

[x] Defendant advised of right to appeal                     [x] Defendant gives oral notice of appeal
[x] Court strongly recommends to BOP that dft not be designated to the same facility to which co-dft Lindsey Kent Springer is designated
                                                             [] Residential Drug Abuse Treatment Program
                                                             [] Other:
[] Bond exonerated                                           [] Appeal Bond set: $          ([] Cash or [] Surety); [] Findings made
[] Deft to self surrender to designated institution by noon on:              , U.S.M. to advise of institution;     [] Findings made
[] Remaining counts ordered dismissed:
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                                                Court Time
___________________________________________________________________________________________________________

              4-21-10                             4-22-10                             4-23-10

            10:00-12:15                          9:00-12:15                        9:00-11:55 a.m.
             1:15-5:05                         1:00-4:55 p.m.
               6' 5"                               7' 10"                              2' 55"
